        Case 18-14422               Doc 7          Filed 12/03/18 Entered 12/03/18 06:20:17                         Desc Ch 7 First
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Information to identify the case:
Debtor 1              Joel R. Bradley                                                       Social Security number or ITIN    xxx−xx−4901
                      First Name   Middle Name     Last Name                                EIN _ _−_ _ _ _ _ _ _
Debtor 2              Julie E. Bradley                                                      Social Security number or ITIN    xxx−xx−7363
(Spouse, if filing)
                      First Name   Middle Name     Last Name                                EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Massachusetts
                                                                                            Date case filed for chapter 7 11/29/18
Case number:          18−14422


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case           12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, you may wish to consult an attorney. All documents filed in the case may be inspected through
PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other document in the case. Do not include more than the last four
digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that
you file with the court.

                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       Joel R. Bradley                                      Julie E. Bradley

2.      All other names used in the
        last 8 years

3.     Address                               18 Seaward Lane                                          116 Long Road
                                             Harwich, MA 02645                                        Harwich, MA 02645

4.     Debtor's attorney                     Peter M. Daigle                                          Contact phone (508) 771−7444
                                             The Law Office of Peter M. Daigle, P. C.
       Name and address                      1550 Falmouth Road                                       Email: pmdaigleesq@yahoo.com
                                             Suite 10
                                             Centerville, MA 02632

5.     Bankruptcy trustee                    David B. Madoff                                          Contact phone 508−543−0040
                                             Madoff & Khoury LLP
       Name and address                      124 Washington Street − Suite 202                        Email: alston@mandkllp.com
                                             Foxborough, MA 02035
                                                                                                               For more information, see page 2>
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Debtor Joel R. Bradley and Julie E. Bradley                                                             Case number 18−14422 −msh
6. Bankruptcy clerk's office                   U. S. Bankruptcy Court                              Hours open: Monday−Friday
                                               J.W. McCormack Post Office &                        8:30am−5:00pm
   Documents in this case may be filed at this Court House
   address. You may inspect all records filed 5 Post Office Square, Suite 1150                     Contact phone 617−748−5300
   in this case at this office or online at    Boston, MA 02109−3945
    www.pacer.gov.
                                                                                                   Date: 12/3/18

7. Meeting of creditors                       January 2, 2019 at 10:30 AM                          Location:

    Debtors must attend the meeting to be     The meeting may be continued or                      Hastings Keith Federal Building,
    questioned under oath. In a joint case,   adjourned to a later date. If so, the                53 North Sixth Street, Room 206,
    both spouses must attend. Creditors may
    attend, but are not required to do so.    date will be on the court docket.                    New Bedford, MA 02740


8. Presumption of abuse                       The presumption of abuse does not arise.
    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                  File by the deadline to object to Filing
                                              discharge or to challenge whether deadline:
    Papers and any required fee must be       certain debts are dischargeable: 3/4/19
    received by the bankruptcy clerk's office
    no later than 4:30 PM (Eastern Time) by
    the deadlines listed.                     You must file a complaint:

                                                       • if you assert that the debtor is not
                                                         entitled to receive a discharge of
                                                         any debts under any of the
                                                         subdivisions of 11 U.S.C. §
                                                         727(a)(2) through (7), or
                                                       • if you want to have a debt
                                                         excepted from discharge under
                                                         11 U.S.C. § 523(a)(2), (4) or (6).

                                              You must file a motion:

                                                       • if you assert that the discharge
                                                         should be denied under §
                                                         727(a)(8) or (9).


                                              Deadline to object to exemptions:                    Filing deadline: 30 days after the
                                              The law permits debtors to keep certain              conclusion of the meeting of creditors
                                              property as exempt. If you believe that the
                                              law does not authorize an exemption
                                              claimed, you may file an objection.


10. Deadline to file §503(b)(9)               Requests under Bankruptcy Code                       Filing deadline: 60 days from the first
    requests:                                 §503(b)(9)(goods sold within twenty(20)              date set for the meeting of creditors
                                              days of bankruptcy) must be filed in the
                                              Bankruptcy Clerk's office.


11. Proof of claim                            For holder(s) of a claim secured by a                Filing deadline: 70 days from the
                                              security interest in the debtor's principal          Filing Date of the Petition
                                              residence, pursuant to Rule 3002(c)7(A):


                                              For creditors other than those holding a Claim Secured by a Security Interest in the
                                              Debtor's Principal Residence: A date has not been set yet. No property appears to be
                                              available to pay creditors. Therefore, please do not file a proof of claim now. If it later
                                              appears that assets are available to pay creditors, the clerk will send you another notice
                                              telling you that you may file a proof of claim and stating the deadline.
                                                                                                          For more information, see page 3>
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Debtor Joel R. Bradley and Julie E. Bradley                                                      Case number 18−14422 −msh
12. Discharge of Debts               The debtor is seeking a discharge of most debts, which may include your debt. A
                                     discharge means that you may never try to collect the debt from the debtor. If you
                                     believe that the debtor is not entitled to receive a discharge under Bankruptcy Code
                                     §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code
                                     §523(a)(2),(4), or (6), you must file a complaint or a motion if you assert the discharge
                                     should be denied under §727(a)(8) or (a)(9) in the bankruptcy clerk's office by the
                                     "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain
                                     Debts" listed on line 9 of this form. The bankruptcy clerk's office must receive the
                                     complaint or motion and any required filing fee by that deadline.

13. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

14. Financial Management Training Deadline for debtor to attend a financial management training program
    Program Deadline for the Debtor approved by the United States Trustee: Sixty (60) days from the first date set
                                    for the meeting of creditors. The discharge will not enter if the debtor fails to attend
                                    a financial management−training program approved by the United States Trustee or if
                                    the debtor attends such training and fails to file a certificate of completion with the
                                    U.S. Bankruptcy Court. The training is in addition to the pre−bankruptcy counseling
                                    requirement. A list of approved courses may be obtained from the United States
                                    Trustee or from the court's website at www.mab.uscourts.gov.

15. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will
                                              not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                              exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                              www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                              debtors claim, you may file an objection. The bankruptcy clerk's office must receive
                                              the objection by the deadline to object to exemptions in line 9.

16. Abandonment of Estate Property Notice is hereby given that any creditor or other interested party who wishes to
                                   receive notice of the estate representative's intention to abandon property of the
                                   estate pursuant to 11 U.S.C. §554(a) must file with the Court and serve upon the
                                   estate representative and the United States trustee a written request for such notice
                                   within fourteen (14) days from the date first scheduled for the meeting of creditors.
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